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AG?245B (Rev. 11/16} Judgment in a Criminal Case
Sheet i

 

 

 

 

 

UNITED STATES DISTRICT COURT
Western District of Washington

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.
ROMAN SELEZNEV Case Number:  2:11CRO0070RAJ-001
USM Number: 04385-093
Igor Litvak

 

Defendant’s Attomey
THE DEFENDANT:

O pleaded guilty to count(s)

 

LF pleaded nolo contendere to couni(s)

 

which was accepted by the court.
was found guilty on count(s) _1-10, 12-19, 21-29, 30-38, and 39-40

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. §1343 Wire Fraud 7/5/2014 1-10
18 U.S.C. §1030(a)(5), 18 Intentional Damage to a Computer 7/3/2014 12-19
US.C. §1030(c}(4)(B)
18 U.S.C. §1030 Obtaining Information from a Protected Computer 7/5/2014 21-29
18 U.S.C, §1029(a)(3) Access Device Fraud 7/5/2014 30-38

18 U.S.C. §1028A(a)(1) Ageravated Identity Theft 7/5/2014 39-40

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

The defendant has been found not guilty on count(s). 11 and 20
C1 Count(s) O is Clare dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of matertgl changes in econén insta .

    
   
 
     

 

 

‘Stant United States Attomey {ee
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Date of x iott a, ff Ul
Signature of Judge .

The Honorable Richard A. Jones ()
United States District Judge

Name and Title of Judge

Anul 21, 20%

*

Date
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AQ245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 2-— Imprisonment |

 

Judgment —- Page 2 of 4
DEFENDANT: ROMAN SELEZNEV

CASE NUMBER: = 2:11CRO0070RAJ-001
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term oft

As to each of Counts 1-10, the defendant shall be committed to the custody of the United States Bureau of Prisons for a term of 300 months (25 years) to be mn
concurrently with one another, and also concurrently with all other counts, except for counts 39 and 40, which must run consecutively. As to each of Counts 12-19 and
30-38, the defendant shail be committed to the custody of the United States Bureau of Prisons for a term of 120 months. The sentences on these counts shall ran
concurrently with one another, and also concurrently with all other counts, except for counts 39 and 40, which must run consecutively. As to each of Counts 25-29, the
defendant shall be committed to the custody of the United States Bureau of Prisons for a term. of 60 months. These sentences shall run concurrently with one another and
concurrently with all other counts, except for counts 39 and 40, which must run consecutively. As to each of Counts 39 and 40, the defendant shall be committed to the
custody of the United States Bureau of Prisons for a term of 24 months. These terms shall run concurrently with one anotber, but the 24-month sentence on Counts 39
and 40 will run consecutively, as required by statute, to the 300-month term of imprisonment on all other counts.

The total term of imprisonment is 324 months (27 years).

 

Ol The court makes the following recommendations to the Bureau of Prisons:

&]

The defendant is remanded to the custody of the United States Marshal.

L1 The defendant shall surrender to the United States Marshal for this district:
CO at : C] a.m. Lipm. on
1] as notified by the United States Marshal.

 

[11 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
LI before 2 p.m. on
Ll as notified by the United States Marshal.
C1 as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
[have executed this judgment as follows:
Defendant delivered on | to
at / , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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A0245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 5 —- Criminal Monetary Penalties

 

 

 

Judgment —-- Page 3 of 4
DEFENDANT: ROMAN SELEZNEV

CASE NUMBER:  2:11CRO00070RAJ-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 3,800 N/A Waived $ 169,905,166.49
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.

L] The defendant must make restitution fincluding community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(j), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

See Attached Lists of Payees $169,905,166.49 ~ $169,905,166.49
dind ExAibit A to FAR, ,

Qovernment's Sen ficn

remo CDkK+. YG+4-1)

 

TOTALS $169,905,166.49 $169,905,166.49

Ol _ Restitution amount orderéd pursuant to plea agreement $

 

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(. All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived forthe [1 fine restitution
L1 the interest requirement forthe LJ) fine [] restitution is modified as follows:

~ The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
ofa fine is waived.

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AQ245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

| DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: — 2:11CRO0070RAJ-001

SCHEDULE OF PAYMENTS

Having assessed the deféndant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

Judgment —- Page 4 of 4

PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
whichever is greater, to be collected and disbursed in accordance with.the Inmate Financial Responsibility Program.

During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
monthly household income, to commence 30 days after release from imprisonment.

C] During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross monthly
household income, to commence 30 days after the date of this judgment.

The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The

- defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
material change in the defendant's financial circumstances that might affect the ability to pay restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[11 = Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1} assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) }VTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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United States v. Roman
Victim Restitution Amounts

per Victim Financial Loss Restitution Statements
A B ¢ D
Restitution
Impact | Restitution Amount
1 Victim Statement | Statement | Requested
City Newsstand
4018 N Cicero Ave :
2 |Chicagoe, IL 60641 yes yes $20,991.25
‘C] Saretto
$255 Reeder School Rd
3 |Greenbrier TN 37073 yes. yes $20,580.60
_. [Double D Market & Catering
2595 County Road 516 .
4 |Old Bridge, NJ 08857 no yes $12,128.11
Fighting Burrito
PO Box 1336
5 |Ames, LA 50014 no yes $5,995.00
Foley Fuel &
Lumber Company
240 Main Street
Box 157
6 |Foley, MN56329 . yes yes $10,399.88
G's Pizza
200 West Houghton Avenue
7 | West Branch, MI 48661 no yes $6,000.00
Grand Central Baking
2249 NW York Street
a |Portland, OR 97210 no yes $6,575.00
Huston Zoo
1513 Cambridge
4 |Houston, TX 77030 yes yes $266, 163.00
Mountain Mike's Pizza
11974 Highway 88,
Suite 2082
10 |Jackson, CA 95642 yes yes $7,000.00
Pasta Factory
2 West Street St George Blvd.
#8
11 |St. George, UT 84770 yes yes $14,806,76
Shaka Sandwich & Pizza Inc. ,
1770 S. Kihei Road -
12 |Kihei, HI 96753 yes yes $23,006.34
Tiffany's Pizza
PO Box 24
13 |Carleton, Mi 48117 no yes $13,500.00
University Book Exchange, Inc
516 S Cotanche Stree
14 |Greenville, NC 27858 yes yes $43,214.37
Village Idiot Pizza
2009 Devine Street
15 |Columbia, SC 29205 yes yes $18,800.00
£pizza Corp.
909 Canyon View Drive
16 |Laguna Beach, CA 92651 yes yes $31,970.00
7 TOTAL $486,322.95
18
9
20

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Attach ment B
CR 11-00070-RAI
